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3                                UNITED STATES DISTRICT COURT

4                                       DISTRICT OF NEVADA

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6     TERRANCE WALKER,                                    Case No. 3:18-cv-00132-MMD-CBC
7                                      Plaintiff,                         ORDER
             v.
8
      INTELLI-HEART SERVICES, INC., et al.,
9
                                   Defendants.
10

11   I.     SUMMARY

12          Plaintiff alleges Defendant Intelli-Heart Services, Inc., and its executives

13   Defendants Danny Weisburg, Vannessa Parsons, and Daniel Germain, tortuously

14   interfered with a contract Plaintiff entered into with non-party James Winters. (ECF No.

15   136.) Before the Court are four objections to separate decisions Magistrate Judge Carla

16   Baldwin Carry made in this case thus far.1 (ECF Nos. 107, 109, 110, 162.) First, Plaintiff

17   objects to Judge Carry’s decision to grant Defendants’ motion for a protective order

18   requiring Plaintiff to contact Defendants’ counsel instead of Defendant “Parsons or any

19   other managing speaking agent of Intelli-Heart throughout the duration of this litigation”

20   (“First Objection”). (ECF Nos. 107 (objection), 100 (order from which the quotation is

21   taken), 77 (motion for protective order).) Second, Plaintiff objects to Judge Carry’s alleged

22   description of this case as a diversity case at a case management conference (“Second

23   Objection”). (ECF Nos. 109 (objection), 103 (minutes of case management conference).)

24   Third, Plaintiff objects to Judge Carry’s partial grant, and partial denial, of one of Plaintiff’s

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26          1As  to ECF No. 107, Defendants filed a response (ECF No. 116), and Plaintiff filed
     a reply (ECF No. 117). As to ECF No. 109, Defendants filed a response (ECF No. 118),
27   and Plaintiff filed a reply (ECF No. 119). As to ECF No. 110, Defendants filed a response
     (ECF No. 120), and Plaintiff filed a reply (ECF No. 122). As to ECF No. 162, Defendants
28   filed a response (ECF No. 185).
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1    motions to compel (“Third Objection”). (ECF Nos. 110 (objection), 108 (order).) Fourth,

2    Plaintiff objects to Judge Carry’s decision to stay discovery and deny several of Plaintiff’s

3    pending discovery motions without prejudice to give newly-added Defendants time to

4    appear (“Fourth Objection”). (ECF Nos. 162 (objection), 157 (order).) Finding no clear

5    error, the Court overrules all four objections.

6    II.    LEGAL STANDARD

7           In reviewing a magistrate judge’s non-dispositive pretrial order, the magistrate

8    judge’s factual determinations are reviewed for clear error. See 28 U.S.C. § 636(b)(1)(A);

9    see also Fed. R. Civ. P. 72(a); LR IB 3-1(a) (“A district judge may reconsider any pretrial

10   matter referred to a magistrate judge in a civil or criminal case pursuant to LR IB 1-3,

11   where it has been shown that the magistrate judge’s ruling is clearly erroneous or contrary

12   to law.”). A magistrate judge’s decision is clearly erroneous or contrary to law “when [she]

13   makes an error of law, when [she] rests [a] decision on clearly erroneous findings of fact,

14   or when [the Court is] left with a definite and firm conviction that [she] committed a clear

15   error of judgment.” United States v. Ressam, 679 F.3d 1069, 1086 (9th Cir. 2012)

16   (quotation omitted). But a magistrate judge’s pretrial order issued under § 636(b)(1)(A) is

17   not subject to de novo review, and the reviewing court “may not simply substitute its

18   judgment for that of the deciding court.” Grimes v. City & County of San Francisco, 951

19   F.2d 236, 241 (9th Cir. 1991).

20   III.   DISCUSSION

21          The Court will address Plaintiff’s four pending objections in chronological order.

22          The Court will overrule Plaintiff’s First Objection because it does not find that Judge

23   Carry clearly erred in granting Defendants’ motion for a protective order requiring Plaintiff

24   to communicate with Defendants’ counsel. Judge Carry found that Defendant Intelli-

25   Heart’s counsel had previously asked Plaintiff to cease and desist communicating directly

26   with Intelli-Heart’s executive because Defendant Parsons was represented by counsel,

27   and he refused to do so. (ECF No. 100 at 1.) Defendants moved for a protective order,

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1    and Judge Carry granted their motion because pro se litigants must abide by the same

2    rules that apply to attorneys, and the governing Nevada Rules of Professional Conduct

3    prohibit attorneys from contacting parties directly when they know those parties are

4    represented by counsel. (Id. at 1-2.) Judge Carry further determined that Defendant

5    Parsons would be deemed a party under governing law because of her role as the CEO

6    of Intelli-Heart. (Id. at 2.) Judge Carry’s ruling was not clearly erroneous. Plaintiff’s First

7    Objection is therefore overruled.

8           As to Plaintiff’s Second Objection, Plaintiff objects to Judge Carry’s alleged

9    characterization of this case as before the Court based on its diversity jurisdiction over the

10   parties at a case management conference. (ECF No. 109.) Plaintiff’s objection is

11   overruled. First, the Court cannot verify that Judge Carry referred to this case as a diversity

12   case because such a statement does not appear in the minutes of the hearing Plaintiff

13   objects to. (See id. at 1 (explaining that Plaintiff objects to events that occurred at a hearing

14   on March 5, 2019); see also ECF No. 103 (minutes of the hearing that occurred on March

15   5, 2019, containing no reference to diversity jurisdiction).) Second, to the extent Judge

16   Carry did, she is correct. Plaintiff exclusively brings claims under Nevada law against

17   parties diverse to him, which gives this Court diversity jurisdiction under 28 U.S.C. §

18   1332(a)(1). (ECF No. 136 at 15, 17-21.) Thus, notwithstanding Plaintiff’s argument to the

19   contrary, it is not inaccurate, much less clear error, to refer to this case as a diversity case.

20          As to Plaintiff’s Third Objection, Judge Carry did not clearly err when she granted

21   in part, and denied in part, Plaintiff’s motion to compel further responses to some of his

22   discovery requests, and strike certain of Defendant Intelli-Heart’s objections or deem

23   answers admitted. Generally speaking, the effect of Judge Carry’s ruling (ECF No. 108)

24   was to keep the scope of discovery limited to Plaintiff’s tortious interference claim—that

25   Defendant Intelli-Heart and/or its individual executives tortuously interfered with Plaintiff’s

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1    contract with Winters.2 She denied Plaintiff’s discovery requests seeking documents and

2    admissions outside the scope of information reasonably calculated to shed light on this

3    claim. (ECF No. 108; see also ECF No. 71 at 4 (seeking discovery on “items and issues

4    surrounding his claim”); ECF No. 120 at 17-23 (making the argument that Plaintiff sought

5    discovery outside the scope of his claims, and that, in his objection, he merely rehashes

6    arguments presented to Judge Carry).) Judge Carry did not clearly err in doing so.

7    Plaintiff’s objection is overruled.

8           As to Plaintiff’s Fourth Objection, Plaintiff objects to Judge Carry’s sua sponte

9    decision to stay discovery and deny several of Plaintiff’s pending discovery motions

10   without prejudice in response to Plaintiff’s request (ECF No. 156) to extend discovery

11   deadlines because new defendants Plaintiff added to this case had not yet entered an

12   appearance (ECF No. 157). The Court will also overrule Plaintiff’s Fourth Objection. “The

13   District Court has broad discretion to stay proceedings as an incident to its power to control

14   its own docket.” Clinton v. Jones, 520 U.S. 681, 706 (1997) (citation omitted). That broad

15   discretion extends to Judge Carry here. The Court does not find her decision, which is the

16   subject of Plaintiff’s Fourth Objection, was clearly erroneous or contrary to law.

17   IV.    CONCLUSION

18          It is therefore ordered that Plaintiff’s objection to Magistrate Judge Carry’s grant of

19   Defendants’ motion for a protective order (ECF No. 107) is overruled.

20          It is further ordered that Plaintiff’s objection to Judge Carry’s alleged

21   characterization of this case as a diversity case (ECF No. 109) is overruled.

22          It is further ordered that Plaintiff’s objection to Judge Carry’s partial grant and partial

23   denial of one of his motions to compel (ECF No. 110) is overruled.

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25          2Based    on his operative complaint, Plaintiff alleges Intelli-Heart and/or its
     executives tortuously interfered with his contract with Winters when Intelli-Heart
26   terminated its contract with Winters—which prevented Winters from entering into contracts
     for or on behalf of Intelli-Heart (ECF No. 136 at 36)—after Intelli-Heart discovered Winters
27   had entered into a contract with Plaintiff because Plaintiff emailed Intelli-Heart and
     Veterans’ Administration employees demanding payment under his contract with Winters
28   (id. at 8-18).

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1          It is further ordered that Plaintiff’s objection to Judge Carry’s order temporarily

2    staying discovery (ECF No. 162) is overruled.

3          DATED THIS 30th day of May 2019.

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5                                                    MIRANDA M. DU
                                                     UNITED STATES DISTRICT JUDGE
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